




NO. 07-08-0145-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 28, 2008



______________________________





TEDDY ROBINSON,



Appellant



v.



THE STATE OF TEXAS,



Appellee



_________________________________



FROM THE 137
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 88-408306; HON. CECIL G. PURYEAR, PRESIDING

_______________________________



Memorandum Opinion

_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Teddy Robinson (appellant) appeals from an order denying his request for appointment of counsel and DNA testing. &nbsp;The order was signed on December 3, 2007. &nbsp;Appellant filed a notice of appeal and a motion for extension of time to file his notice on April 3, 2008. &nbsp;Through the motion, he contends that he was “not notified until almost four [4] months after the judge denied [h]is. . .[r]equest.” &nbsp;Because the deadline to perfect an appeal was January 2, 2008, the notice of appeal is untimely. &nbsp;
Tex. R. App. P. 
26.1 (stating that one must file a notice of appeal within 30 days of the date the final order is signed, unless that deadline has been extended by motion or rule of procedure). &nbsp;
So too is the motion to extend the deadline untimely since it had to be filed within 15 days after the deadline for filing the notice of appeal, or in this case, by January 17, 2008. &nbsp;
Tex. R. App. P
. 26.3.

A timely notice of appeal is essential to invoke our appellate jurisdiction. &nbsp;
In re A.L.B.
, 56 S.W.3d 651, 652 (Tex. App.
–
Waco 2003, no pet.). &nbsp;
Since the notice of appeal was untimely filed, we lack jurisdiction and dismiss the appeal. &nbsp;



Brian Quinn

 							 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice
	





Do not publish.


